Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23   Page 1 of 19




  EXHIBIT 26
Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23   Page 2 of 19




  __________________________________

                    Jeff Easter - Volume II
                           May 26, 2023
  __________________________________

                          Progeny, et al.
                                   vs.

                   City of Wichita, Kansas
     Case 6:21-cv-01100-EFM    Document 207-22   Filed 09/29/23   Page 3 of 19



1            IN THE UNITED STATES DISTRICT COURT

2                   FOR THE DISTRICT OF KANSAS

3

4      PROGENY, a program of Destination         )

5      Innovation, Inc., CHRISTOPHER             )

6      COOPER, ELBERT COSTELLO, MARTEL           )

7      COSTELLO, and JEREMY LEVY, JR.,           )

8      on behalf of themselves and others ) Case No.

9      similarly situated,                       ) 6:21-CV-01100

10     Plaintiffs,                               ) EFM-ADM

11     vs                                        )

12     CITY OF WICHITA, KANSAS,                  )

13     Defendant.                                )

14     ___________________________________)

15               VIDEO-RECORDED ZOOM DEPOSITION OF

16                            JEFF EASTER

17                             VOLUME II

18                            May 26, 2023

19                             2:35 p.m.

20

21                             Taken at:

22              Sedgwick County City Building

23                        455 North Main

24                     Wichita, Kansas 67202

25     Kathy R. Bonfiglio, CSR-KS, CSR-MO, RPR



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     Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23   Page 4 of 19



1      Crips; a few Junior Boys that tied into those

2      particular gangs through the dope trade, and then

3      one individual that was supplying the cocaine or

4      crack cocaine to both gangs and all of them were

5      either pled guilty or were convicted.

6               Q.    I believe you said that Elbert

7      Costello, one of the plaintiffs in this case, you

8      were familiar with him because of some involvement

9      he had with some of the Crips; is that correct?

10              A.    So I was familiar with him prior to

11     that with just different cases that he was involved

12     in over the years.     Particularly, we were following

13     our target that was the main supplier of crack

14     cocaine.      We also had wire tap on him where Elbert

15     Costello had called him to purchase cocaine from

16     him at a location in northeast Wichita.         We

17     followed our target there.      There was a brief

18     contact between him and Elbert Costello and then we

19     started to follow Elbert Costello and we lost him

20     in the area but followed our target back to his

21     house.

22              Q.    You said you were familiar with Mr.

23     Costello from other criminal activities.          Can you

24     tell me about that.     How did you first become aware

25     of Mr. Costello?



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1              A.   There was just different cases that

2      involved him with him being a suspect in different

3      types of crimes.       There was different types of --

4      if I recall correctly, there was a couple of

5      shootings that he was a suspect in and just from

6      the drug trade as well his name kept popping up in

7      those particular cases.

8              Q.   What time frame would that have been?

9              A.   That would have started in the late

10     '90s.

11             Q.   With respect to any of those, any of

12     those instances where he was investigated as a

13     suspect, was he charged with any crimes?

14             A.   I don't remember if he -- what his

15     criminal record is.

16             Q.   Did you believe he was associated with

17     a gang?

18             A.   Yes, but I couldn't tell you which one

19     at this point.

20             Q.   Was he a Crip?

21             A.   I believe -- well, he was either listed

22     as one of the Crip gangs or a Second Streeter which

23     was an offshoot of the Crip gangs.

24             Q.   Was he one of the leaders of the gang

25     or one of the main people in the hierarchy?



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1              A.    No, he was not.

2              Q.    And after you left the -- after you

3      left the WPD did you have anymore interactions with

4      Mr. Elbert Costello?

5              A.    No, I have not.

6              Q.    I want to go a little bit into some of

7      the training materials that were used in the Gang

8      Unit.   Were you responsible for developing any of

9      those materials?

10             A.    Well, are you talking about training

11     for law enforcement or are you talking about the

12     presentations that I was tasked to do for the

13     community?

14             Q.    Let's talk about training for law

15     enforcement first.

16             A.    As far as the development of it, no, I

17     was not.

18             Q.    Do you know who was?

19             A.    No, I do not.

20             Q.    At any time when you were involved with

21     the Gang Unit, did you do anything to update or

22     change any of the training for law enforcement?

23             A.    I honestly can't answer that because I

24     might have.    I just don't remember.      That was years

25     ago.



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1               A.   Yes.     As we discussed before, there was

2      a grant that was received when I was a sergeant

3      that provided computers, laptop computers to each

4      bureau and to the Sheriff's Office that maintained

5      the gang database so they could have direct access

6      to it.

7               Q.   So the Sheriff's Office had direct

8      access to the gang list just like the WPD did?

9                    MR. COOPER: Object to form.

10              A.   Years ago they did, yes.

11              Q.   (By Ms. Woody) Do you know when that

12     stopped?

13              A.   I assume it stopped when I did do away

14     with our gang unit over here but I can't give you

15     an exact answer.

16              Q.   So when you took over as the Sheriff

17     did certain people in the Sheriff's Office still

18     have direct access to the gang database?

19              A.   No.

20              Q.   Okay. So that happened before you were

21     the Sheriff?

22              A.   No.    It happened after I was the

23     Sheriff.

24              Q.   Okay.

25              A.   But I can actually say that we did not



                                                                                 21
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1      and 300 pounds, more than likely that's not the

2      guy.   So we would provide that information plus any

3      other identifying markers.

4               Q.   Okay. During the time when you were

5      with the WPD, are you aware of the gang database or

6      parts of the gang database being released to people

7      in the public, non-law enforcement people?

8               A.   Okay.    Your question -- and I'm sorry,

9      it's just the connection.      So your question was if

10     I'm aware of the WPD list being given out to the

11     public?

12              Q.   Yes.

13              A.   Okay.    I am aware of one situation that

14     that gang list was provided in written form to the

15     Sedgwick County Jail and that particular list,

16     somebody within the jail posted at a barber shop in

17     northeast Wichita.

18              Q.   Why was the list provided to the

19     Sedgwick County Jail?

20              A.   Well, I know more about why now.            Back

21     then it was explained to me that you had numerous

22     different gang members from the different sets that

23     were being placed in the jail and they needed to

24     determine whether these folks could be around each

25     other.



                                                                                  26
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1              Q.   And you say now you have a different or

2      better understanding?

3              A.   Yeah.     Now that I'm over at the jail

4      it's absolute that we need to have that information

5      because we'll have gang members come in here and

6      tell us specifically I can't be in that pod because

7      I am a Englewood Blood and two of those Crips that

8      are sitting in there, one of them murdered my

9      brother, and so we try to, through classification,

10     through the gang database, which is no longer a

11     list, someone down in our classification area

12     either a, has access to the gang database or they

13     call over to get information when known gang

14     members are booked into the jail.        That way there

15     they are not placed in the same type of pods as

16     other gang members that are rival members.          The

17     classification process is very lengthy because we

18     have people that are arrested and booked in here,

19     especially when we're having violent crime, gang

20     feuds out on the street that individuals are being

21     arrested for homicides of family members that are

22     killed by this person that are actually sitting in

23     jail right now.

24             Q.   So when you say the classification

25     process, can you explain that to me?



                                                                                27
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1              A.    So the classification process is that

2      when somebody is booked into jail and they are

3      going to be housed with us, we go through a whole

4      litany of information; prior arrests, prior

5      convictions, medical needs and gang affiliation or

6      not affiliation necessarily but that are gang

7      members, documented gang members and we take all

8      that information, plug it into the computer and it

9      spits out to us what type of classification that

10     person should be; should it be low, medium or high

11     based upon all the information.          And then we have

12     specific pods that are designed in the jail to

13     house the higher risk inmates, the moderate risk

14     inmates and the low risk inmates.          And then at the

15     same time we have to take a look at our protective

16     custody people which are individuals that either

17     have been threatened by people out on the streets

18     or in our facility, individuals that have given

19     information on the cases they are charged with

20     against other defendants, and we have to make sure

21     that they are protected and not around these other

22     inmates at the same time.

23             Q.    What is the difference between the

24     high, medium -- I'm sorry, and low pods? What is

25     the difference? Are there more restrictions in the



                                                                                  28
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     Case 6:21-cv-01100-EFM     Document 207-22   Filed 09/29/23   Page 11 of 19



1      high risk pod?

2              A.    No.      They don't get restrictions just

3      based on their classification.         They get

4      restrictions based upon their behavior.            So when it

5      comes down to high risk like the folks that are in

6      red because of their violent history, their past

7      history with us, sometimes what they are charged

8      with, all of that takes into consideration.             So if

9      they are going to be moved from one area of the

10     jail to the other they have to be escorted by jail

11     personnel.    Moderate and low risk people do not.

12             Q.    Okay. So they can move about more

13     freely?

14             A.    Correct.

15             Q.    Is there a presumption that if somebody

16     is a listed gang member as to what classification

17     they would be?

18             A.    No.

19             Q.    Are there any other instances where the

20     Sheriff's Office accesses or uses information from

21     the WPD gang database other than what we've already

22     discussed as some investigations or with respect to

23     the jail?

24             A.    No, ma'am, not that I can think of.

25             Q.    But I think you said that maybe



                                                                                   29
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1      somebody in the Sheriff's Office does have direct

2      access dealing with the jail; is that right?

3              A.    I believe so.    Have I ever directly

4      asked, do you have direct access to the gang

5      database?    No, I have not.     My belief is with our

6      intelligence or intelligence corporals that they do

7      have access to the database either by calling over

8      or they have direct access.       I would have to call,

9      but that's how I know when gang members are booked

10     in here that we try to separate them by their set.

11             Q.    Who are your intelligence corporals?

12             A.    One of them is Corporal Carlton.            I

13     don't recall -- I don't remember the name of the

14     other corporal.

15             Q.    Is Mr. Carlton a former Wichita police

16     officer?

17             A.    Neither one of them are.

18             Q.    Does the Sheriff's Office ever give out

19     information about somebody being a gang member to

20     any other entity other than the Wichita Police

21     Department?

22             A.    Not that I'm aware of, no.

23             Q.    To any other law enforcement agencies

24     like the KBI or FBI or anybody like that?

25             A.    Not that I'm aware of.      We are not the



                                                                                     30
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     Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23   Page 13 of 19



1      personnel, are you aware of any instances where

2      anybody in the Sheriff's Office has given out

3      information about a gang member?

4              A.    Other than the one instance that I

5      talked about, no.

6              Q.    How did that information get posted

7      publicly?

8              A.    What I was told was that somebody took

9      it and posted it on a barber shop, at a barber shop

10     on some type of board and it was viewable by

11     everybody in the barber shop is what I was told.

12             Q.    Do you have any idea how that got to

13     the barber shop; who took it and how they would

14     have gotten their hands on it?

15             A.    Well, as I explained earlier, what I

16     was told was that there used to be lists generated.

17     One was sent to the Sheriff's Office and somebody

18     within the jail had access to that particular list,

19     the paper copy, and took it and posted it is what I

20     was told.

21             Q.    Was anybody -- are you aware of anybody

22     being disciplined or anything like that for that?

23             A.    That was before I was at the Sheriff's

24     Office, ma'am.     I have no idea.

25             Q.    Okay.    So what is the procedure in the



                                                                                 32
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1      their affidavits any information that if they were

2      a gang members and we worked tons of cases where

3      people weren't gang members in the Felony Assault

4      Unit so it would be the same information except the

5      fact that they would put in their affidavit the

6      information out of the gang database or some of the

7      information out of the gang database as identifying

8      them as gang members and that's why it was assigned

9      to the Gang Unit to prosecute.

10             Q.    So if they put in their affidavit that

11     this person was identified as a gang member in the

12     database, they would include what information they

13     had and that would cause that charge to go to the

14     DA's Gang Unit?

15                   MR. COOPER: Object to form.

16             A.    Yes.     I mean, so anything that was gang

17     member related or gang-related was assigned to the

18     DA's Gang Unit to prosecution.

19             Q.    (By Ms. Woody) During your time at the

20     WPD were there ever any studies that you were aware

21     of that broke down the gang database by racial

22     demographics?

23             A.    Studies done on it? Not of the gang

24     database.    I was tasked with doing a look at

25     demographics of the violent crime we were having.



                                                                                  47
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1               Q.   And that involved more than gang

2      members; is that correct?

3               A.   No.      It was very gang specific; ag

4      assaults, ag batteries, drive-by shootings,

5      homicides that were perpetrated by gang members.

6               Q.   Did that break down by race?

7               A.   Yes, it did.

8               Q.   What do you recall the demographics

9      being?

10              A.   The highest demographic was African

11     American.     They were right around 70 percent.            The

12     next demographic was white or Caucasian.            The 3rd

13     was Hispanic and the 4th was Asian.

14              Q.   Did the white group include people who

15     were Hispanic or Latino?

16              A.   No.      White was just Caucasian and so if

17     they were Hispanic that was a separate category.

18              Q.   Okay.      What did you do with this

19     information once you had done this study?

20              A.   I was asked to do that by Chief

21     Williams and Deputy Chief Stoltz.          Once I broke

22     down that information that information was provided

23     back to Deputy Chief Stoltz and Chief Norman

24     Williams.

25              Q.   Do you know what they did with it?



                                                                                   48
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     Case 6:21-cv-01100-EFM     Document 207-22   Filed 09/29/23   Page 16 of 19



1              A.    No, ma'am, I do not.

2              Q.    Were you ever asked to update it or

3      asked to do any follow-up?

4              A.    No.      They asked me to do that

5      particular demographic look one time.

6              Q.    Did they tell you why they wanted you

7      to do that?

8              A.    Yeah; because the black-on-black crime

9      was completely out of control at the time and so

10     they were looking at other ways to engage the

11     African American community in community policing

12     and different types of programs and they wanted

13     statistical material because there was certain

14     groups here that was all the time saying

15     disproportionate police contact, disproportionate

16     police stops, disproportion, those types of things.

17     Well, this was disproportionate as well.            The

18     amount of African American-on-African American

19     crime was extremely disproportionate.           They wanted

20     to be able to provide that information to these

21     different groups.

22             Q.    Do you know if they did provide it to

23     these different groups?

24             A.    I don't know.

25             Q.    Other than that study that you



                                                                                   49
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     Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23   Page 17 of 19



1      on bond, there were certain bars that catered to

2      the gang members and so they would be mapped around

3      those particular bars.      That's what I recall on the

4      gang-related stuff.      So to answer your question

5      now, yes, there were some bars that were absolutely

6      infiltrated, attended.      We would always have fights

7      or shootings at those bars that were known for gang

8      activity.

9               Q.   When you say they were mapped with

10     respect to these bars, that means they weren't

11     supposed to go there; is that correct?

12              A.   That was part of the restrictions, yes,

13     ma'am.

14              Q.   So the mapping would be here's where

15     you can't go; is that right?

16              A.   Correct.

17              Q.   That was specific to an individual who

18     was on probation or parole as part of their

19     restrictions; is that correct?

20              A.   Correct, or out on bond.

21              Q.   With respect to -- were there any areas

22     of the city that generally were considered gang

23     areas without regard to a specific person's

24     probation or parole restrictions?

25              A.   You had neighborhoods throughout the



                                                                                 55
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     Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23   Page 18 of 19



1      city that was -- I mean, yeah, they had a lot of

2      gang members, particular gang houses that were in

3      those neighborhoods.      You had them in west Wichita,

4      not as much but you had them in north, south and

5      east Wichita.

6              Q.    And how would that information be

7      shared within the department that these were

8      gang-related areas?

9              A.    I wouldn't say we ever said there was

10     any particular gang-related areas.        There was

11     particular houses or neighborhoods that had several

12     gang members that lived in those homes or multiple

13     gang members living in one home.         To be honest with

14     you most beat officers knew that.         We knew it from

15     neighborhood members who wanted us to do something

16     about them in their neighborhood and that's

17     generally how we got the information.

18             Q.    And was that information ever

19     disseminated to the public?       Like when you did

20     these presentation did you ever say these areas are

21     gang-related?

22             A.    No, because there was no really

23     gang-related designated areas in the city of

24     Wichita.     You had some neighborhoods that were more

25     problematic because of the amount of gang members,



                                                                                 56
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     Case 6:21-cv-01100-EFM   Document 207-22   Filed 09/29/23    Page 19 of 19



1      the amount of shooting, the amount of drug activity

2      that was taking place in those neighborhoods.

3              Q.    But they weren't specifically

4      designated as gang-related areas or gang areas?

5              A.    I've never heard that term; no, ma'am.

6              Q.    Why don't you give me about ten minutes

7      and then I'll come back and we'll finish up.              Okay?

8              A.    Okay, ma'am.

9                    VIDEOGRAPHER: Time is now 3:53 p.m..

10     We are now off the record.

11                   (Whereupon a recess was taken from 3:53

12     p.m. to 4:02 p.m.)

13                   VIDEOGRAPHER: The time is now is 4:02

14     p.m..   We are now on the record.

15             Q.    Sheriff Easter, at any time when you

16     were with the WPD, were they using social media to

17     identify gang members?

18             A.    Not while I was -- there really wasn't

19     social media per se when I was a lieutenant.

20     Towards the end there I think Facebook was really

21     starting to take off.      I know there were some cases

22     that we did based off of Facebook where they would

23     post pictures of themselves with guns and money and

24     we would violate them on their probation or parole

25     and some of those folks were gang members.



                                                                                  57
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